       Case 2:16-cv-00972-KG-GJF Document 76 Filed 11/15/17 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

IRONSHORE SPECIALTY INSURANCE
COMPANY,

       Plaintiff,

v.                                                   Cause No. 2:16-cv-00972-KG-GJF

XTO ENERGY, INC., CONCHO RESOURCES,
INC., COG OPERATING, LLC, and
SOUTHWEST ROYALTIES, INC.,

       Defendants.
                       ORDER OF DISMISSAL WITH PREJUDICE

       THIS MATTER having come before the Court on the Joint Motion for Dismissal with

Prejudice filed by the parties herein, the Court having considered the Motion and being

otherwise fully informed in the premises, finds that the Motion is well-taken and should be

granted.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREEED that the parties’ Joint

Motion for Dismissal be and hereby is granted and that the Complaint and the Crossclaims,

together with all claims asserted or which could have been asserted by any party herein, be and

hereby are dismissed with prejudice, with each party to bear its own costs and attorney’s fees.




                                                     UNITED STATES DISTRICT JUDGE
       Case 2:16-cv-00972-KG-GJF Document 76 Filed 11/15/17 Page 2 of 2



Approved:

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